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                           EXHIBIT B
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Label Matrix for local noticing               2425 WL, LLC                            CC2 TX, LLC
0541-4                                        2425 West Loop South 11th floor         c/o Howard Marc Spector
Case 23-34815                                 Houston, TX 77027-4304                  Spector & Cox, PLLC
Southern District of Texas                                                            12770 Coit Road Suite 850
Houston                                                                               Dallas, TX 75251-1364
Thu May 9 13:16:14 CDT 2024
City of Houston                               Galleria 2425 Owner, LLC                (p)HARRIS COUNTY ATTORNEY’S OFFICE
Linebarger Goggan Blair & Sampson LLP         1001 West Loop South 700                P O BOX 2928
c/o Tara L. Grundemeier                       Houston, TX 77027-9084                  HOUSTON TX 77252-2928
PO Box 3064
Houston, TX 77253-3064

Hayward PLLC                                  Houston Community College System        Houston ISD
c/o Melissa Hayward                           Linebarger Goggan Blair & Sampson LLP   Linebarger Goggan Blair & Sampson LLP
10501 N. Central Expy., Ste. 106              c/o Tara L. Grundemeier                 c/o Tara L. Grundemeier
Dallas, TX 75231-2203                         PO Box 3064                             PO Box 3064
                                              Houston, TX 77253-3064                  Houston, TX 77253-3064

National Bank of Kuwait, S.A.K.P., New York   4                                       2425 WL, LLC
                                              United States Bankruptcy Court          13498 Pond Springs Rd.
                                              PO Box 61010                            Austin, TX 78729-4422
                                              Houston, TX 77208-1010


2425 West Loop, LLC                           ADT                                     Ali Choudhry
2000 Hughes Landing Blvd., Suite 815          PO Box 382109                           1001 West Loop South 700
The Woodlands, Texas 77380-4142               Pittsburgh, PA 15251-8109               Houston, TX 77027-9084



Arin-Air, Inc.                                Ash Automated Control Systems, LLC      CC2 TX, LLC
5710 Brittmoore Rd. #13                       PO Box 1113                             14800 Landmark Blvd., Suite 400
Houston, TX 77041-5627                        Fulshear, TX 77441-2013                 Dallas, TX 75254-7598



CFI Mechanical, Inc                           CNA Insurance Co                        Caz Creek Lending
6109 Brittmoore Rd                            PO Box 74007619                         118 Vintage Park Blvd No. W
Houston, TX 77041-5610                        Chicago, IL 60674-7619                  Houston, TX 77070-4095



Cirro Electric                                City of Houston                         City of Houston
PO Box 60004                                  PO Box 1560                             c/o Tara L. Grundemeier
Dallas, TX 75266                              Houston, TX 77251-1560                  Linebarger Goggan Blair & Sampson LLP
                                                                                      PO Box 3064
                                                                                      Houston, TX 77253-3064

Comcast                                       Datawatch Systems                       Environmental Coalition Inc
PO Box 60533                                  4520 East West Highway 200              PO Box 1568
City of Industry, CA 91716-0533               Bethesda, MD 20814-3382                 Stafford, TX 77497-1568



Ferguson Facilities Supplies                  Firetron                                (p)FIRST INSURANCE FUNDING
PO Box 200184                                 PO Box 1604                             450 SKOKIE BLVD SUITE 1000
San Antonio, TX 78220-0184                    Stafford, TX 77497-1604                 NORTHBROOK IL 60062-7917
                   Case 23-34815 Document 467-4 Filed in TXSB on 06/11/24 Page 13 of 14
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Gulfstream Legal Group                     H.N.B. Construction, LLC                HNB Construction, LLC
1300 Texas St                              c/o Malcolm D. Dishongh                 521 Woodhaven
Houston, TX 77002-3509                     PO Box 2347                             Ingleside, TX 78362-4678
                                           Humble, TX 77347-2347


Hayward PLLC                               Houston Community College System        Houston ISD
c/o Melissa S. Hayward                     c/o Tara L. Grundemeier                 c/o Tara L. Grundemeier
10501 N. Central Expy., Ste. 106           Linebarger Goggan Blair & Sampson LLP   Linebarger Goggan Blair & Sampson LLP
Dallas, TX 75231-2203                      PO Box 3064                             PO Box 3064
                                           Houston, TX 77253-3064                  Houston, TX 77253-3064

Jetall Companies, Inc                      Kings 111 Emergency Communications      Lexitas
1001 West Loop South Ste 700               751 Canyon Drive, Suite 100             PO Box Box 734298 Dept 2012
Houston, TX 77027-9033                     Coppell, TX 75019-3857                  Dallas, TX 75373-4298



Lloyd E. Kelley                            Logix Fiber Networks                    MacGeorge Law Firm
2726 Bissonent Suite 240                   PO Box 734120                           2921 E 17th St Blgd D Suite 6
Houston, TX 77005-1352                     Dallas, TX 75373-4120                   Austin, TX 78702-1572



Mueller Water Treatment                    Naissance Galleria, LLC                 National Bank of Kuwait
1500 Sherwood Forest Dr.                   c/o Law Office of Nima Taherian         299 Park Ave. 17th Floor
Houston, TX 77043-3899                     701 N. Post Oak Rd. Ste 216             New York, NY 10171-0023
                                           Houston, TX 77024-3868


Nationwide Security                        Nichamoff Law Firm                      Rodney L. Drinnon
2425 W Loop S 300                          2444 Times Blvd 270                     2000 West Loop S, Ste. 1850,
Houston, TX 77027-4205                     Houston, TX 77005-3253                  Houston, Texas 77027-3744



TKE                                        U.S. Trustee’s Office                   US Retailers LLC d/b/a Cirro Energy
3100 Interstate North Cir SE 500           515 Rusk, Suite 3516                    Attention: Bankruptcy Department
Atlanta, GA 30339-2296                     Houston, Texas 77002-2604               PO Box 3606
                                                                                   Houston, TX 77253-3606


US Trustee                                 Waste Management                        Zindler Cleaning Service Co
Office of the US Trustee                   PO Box 660345                           2450 Fondren 113
515 Rusk Ave                               Dallas, TX 75266-0345                   Houston, TX 77063-2314
Ste 3516
Houston, TX 77002-2604

Ali Choudhri                               Christopher R Murray                    James Q. Pope
24256 West Loop South                      Jones Murray LLP                        The Pope Law Firm
11th Floor                                 602 Sawyer St                           6161 Savoy Drive
Houston, TX 77027                          Ste 400                                 Ste 1125
                                           Houston, TX 77007-7510                  Houston, TX 77036-3343

Reese W Baker                              Rodney Drinnon
Baker & Associates                         McCathern Houston
950 Echo Lane                              2000 W Loop S
Suite 300                                  Ste. 1850
Houston, TX 77024-2824                     Houston, TX 77027-3744
                      Case 23-34815 Document 467-4 Filed in TXSB on 06/11/24 Page 14 of 14
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Harris County, ATTN: Property Tax Division          First Insurance Funding                              (d)Harris County Tax Assessor
Harris County Attorney’s Office                     450 Skokie Blvd                                      PO Box 4622
P.O. Box 2928                                       Northbrook, IL 60062                                 Houston, TX 77210
Houston, TX 77252-2928 United States


(d)Harris County, et al
PO Box 2928
Houston, TX 77252




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)2425 West Loop, LLC                              (u)Sonder USA Inc.                                   (d)Arin-Air, LLC
                                                                                                         5710 Brittmoore Rd. #13
                                                                                                         Houston, TX 77041-5627



(du)Sonder USA Inc.                                 (u)Jack Rose                                         End of Label Matrix
                                                                                                         Mailable recipients     58
                                                                                                         Bypassed recipients      5
                                                                                                         Total                   63
